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 7
 8
                             UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10
11
   GRAYSON SMITH, Individually and on          Case No.:
12 Behalf of All Others Similarly Situated,
13
                             Plaintiff,        CLASS ACTION COMPLAINT
14                                             FOR VIOLATIONS OF THE
15                     v.                      FEDERAL SECURITIES LAWS
16 RIVIAN AUTOMOTIVE, INC.,
17 ROBERT J. SCARINGE, CLAIRE                  JURY TRIAL DEMANDED
   MCDONOUGH, JEFFREY R. BAKER,
18
   JITEN BEHL, KAREN BOONE,
19 SANFORD SCHWARTZ, ROSE
20 MARCARIO, PETER KRAWIEC, JAY
   FLATLEY, and PAMELA THOMAS-
21 GRAHAM,
22
                      Defendants.
23
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 1          Plaintiff Grayson Smith (“Plaintiff”), by and through Plaintiff’s counsel, alleges
 2
      the following based upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and
 3
 4 upon information and belief as to all other matters, including the investigation of
 5 Plaintiff’s counsel, which included, among other things, a review of Defendants’
 6
   (defined below) United States (“U.S.”) Securities and Exchange Commission (“SEC”)
 7
 8 filings, wire and press releases published by Rivian Automotive, Inc. (“Rivian” or the
 9
      “Company”), analyst reports and advisories about the Company, media reports
10
11 concerning the Company, judicial filings and opinions, and other publicly available
12 information. Plaintiff believes that substantial, additional evidentiary support will exist
13
   for the allegations set forth herein after a reasonable opportunity for discovery.
14
15                                NATURE OF THE ACTION
16          1.    This is a federal securities class action on behalf of a class (the “Class”) of
17
      all persons and entities who purchased Rivian common stock between November 10,
18
19 2021 and March 10, 2022, inclusive (the “Class Period”), and all persons and entities
20
      who purchased Rivian common stock pursuant and/or traceable to the Registration
21
22 Statement (defined below) issued in connection with Rivian’s November 2021 initial
23 public offering (the “IPO”). This action asserts claims under Sections 10(b) and 20(a) of
24
   the Securities Exchange Act of 1934 (the “Exchange Act”) and Sections 11 and 15 of the
25
26 Securities Act of 1933 (the “Securities Act”) against Rivian and certain of the
27 Company’s officers and directors.
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1           2.    Rivian is a Delaware corporation with principal executive offices in Irvine,

2     California, that designs, develops, and manufactures electric vehicles (“EVs”), including
3
      an electric SUV (the “R1S”) and an electric pickup truck (the “R1T”).
4
5           3.    On October 1, 2021, Rivian filed a registration statement for the IPO on
6     Form S-1, which, after several amendments, was declared effective on November 9,
7
      2021 (the “Registration Statement”).       On November 9, 2021, Rivian issued the
8
9     prospectus for the IPO on Form 424B4, which incorporated and formed part of the
10
      Registration Statement.
11
12          4.    In connection with the IPO, Rivian offered and sold 175,950,000 shares of
13    its common stock at a price to the public of $78.00 per share, which included the
14
      exercise in full by the IPO underwriters of their option to purchase an additional
15
16    22,950,000 shares of the Company’s common stock.            The gross proceeds to the
17
      Company from the IPO were $13,724,100,000, before deducting underwriting discounts
18
19    and commissions, and estimated offering expenses payable by the Company.
20          5.    In the Registration Statement, Defendants represented, among other things,
21
      that Rivian had 55,400 combined preorders for the R1T and R1S, and that Rivian
22
23    planned to “produce approximately 1,200 R1Ts and 25 R1Ss and deliver approximately
24
      1,000 R1Ts and 15 R1Ss” by the end of 2021.
25
26          6.    In the Registration Statement and throughout the Class Period, Defendants

27    made materially false and/or misleading statements, as well as failed to disclose material
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1     adverse facts, about the Company’s business and operations. Specifically, Defendants

2     made false and/or misleading statements and/or failed to disclose that: (i) Rivian would
3
      not meet its 2021 production and delivery targets; (ii) Rivian’s vehicles were
4
5     underpriced and the Company would need to substantially increase prices; and (iii) as a
6     result, Defendants’ representations about the Company’s business, operations, and
7
      prospects lacked a reasonable basis.
8
9           7.     The truth about Rivian’s production capabilities and business prospects
10
      began to emerge on December 16, 2021, when Rivian disclosed that it would fall “a few
11
12    hundred vehicles short of [its] 2021 production target of 1,200 [vehicles].” In addition to
13    admitting that production was lagging, Defendant Robert J. Scaringe (“Scaringe”)—the
14
      Company’s Founder, Chief Executive Officer, and Chairman—acknowledged that
15
16    Rivian’s vehicles were “very aggressively priced” and that, against “the backdrop of
17
      inflation,” the Company was “look[ing] at [their] pricing.”
18
19          8.     On this news, Rivian’s stock price fell $11.17 per share, or more than 10%,
20    from a close of $108.87 per share on December 16, 2021, to close at $97.70 per share on
21
      December 17, 2021.
22
23          9.     On January 10, 2022, Rivian confirmed that it had only “produced 1,015
24
      vehicles by the end of 2021” and that only “920 vehicles were delivered by that date.”
25
26          10.    Additional corrective information surfaced on March 1, 2022, when Rivian

27    announced that it would dramatically increase the starting price of the R1T by about
28
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1     17% (to approximately $79,000 from $67,500), and the R1S by about 20% (to

2     approximately $84,500 from $70,000). Notably, these price changes would apply not
3
      only to future orders, but also to existing preorders (many of which had been placed as
4
5     long as three or more years prior). According to Defendant Jiten Behl (“Behl”), the
6     Company’s Chief Growth Officer, the price increases were the result of “inflationary
7
      pressure, increasing component costs, and unprecedented supply chain shortages and
8
9     delays for parts (including semiconductor chips).”
10
            11.    In a swift and fierce backlash, media outlets reported that many Rivian
11
12    customers reported that they had cancelled, or planned to cancel, their preorders as a
13    result of the dramatic price hikes.
14
            12.    On this news, Rivian’s stock price fell $8.35 per share, or more than 13%,
15
16    from a close of $61.91 per share on March 1, 2022, to close at $53.56 per share on
17
      March 2, 2022.
18
19          13.    Just two days later, on March 3, 2022, Defendants retracted aspects of the
20    price increases, now announcing that preorders that had been placed before March 1,
21
      2022, would not be subject to the new prices, and that customers who had cancelled their
22
23    preorders could reinstate their orders at the original prices. Defendant Scaringe admitted
24
      that applying the price increases to existing preorders was “wrong” and “broke
25
26    [customers’] trust in Rivian.”

27
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1           14.    On this news, Rivian’s stock price fell an additional $2.65 per share, or

2     approximately 5%, from a close of $53.56 per share on March 2, 2022, to close at $50.91
3
      per share on March 3, 2022.
4
5           15.    Then, on March 10, 2022, Rivian announced disappointing financial results
6     for the fourth quarter of fiscal year 2021, including revenue and adjusted losses per share
7
      that fell far below analysts’ estimates. Additionally, while analysts had expected Rivian
8
9     to produce 40,000 vehicles in 2022, Defendants disclosed that the Company expected to
10
      produce only 25,000 vehicles in 2022.
11
12          16.    On this news, Rivian’s stock price fell $3.11 per share, or approximately
13    7.5%, from a close of $41.16 per share on March 10, 2022, to close at $38.05 per share
14
      on March 11, 2022.
15
16          17.    Critically, Defendants’ December 2021 and March 2022 admissions
17
      corroborate allegations raised a week prior to the IPO by Laura Schwab (“Schwab”), a
18
19    former Rivian executive who had sued the Company for gender discrimination and
20    alleged that senior executives had been warned of production issues and that “it was
21
      clear that the [Company’s] vehicles were underpriced, and each sale would result in a
22
23    loss [for] the [C]ompany.” Schwab also alleged in her November 4, 2021 lawsuit that
24
      she had reported her pricing concerns to other Rivian executives beginning in the spring
25
26    of 2021, including Defendant Behl, who initially “brushed her off” but eventually agreed

27    that the Company “would need to raise the vehicle prices after the IPO.”
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1           18.    As of the time this Complaint was filed, the price of Rivian common stock

2     continues to trade below the $78.00 per share IPO price, damaging investors.
3
            19.    As a result of Defendants’ wrongful acts and omissions, and the decline in
4
5     the market value of the Company’s common stock when the truth was revealed, Plaintiff
6     and other members of the Class have suffered significant damages.
7
                                  JURISDICTION AND VENUE
8
9           20.    Plaintiff’s claims arise under Sections 10(b) and 20(a) of the Exchange Act,
10    15 U.S.C. §§ 78j(b) and 78t(a), and the rules and regulations promulgated thereunder,
11
      including SEC Rule 10b-5, 17 C.F.R. § 240.10b-5, and Sections 11 and 15 of the
12
13    Securities Act, 15 U.S.C. §§ 77k and 77o.
14
            21.    This Court has jurisdiction over the subject matter of this action under 28
15
16    U.S.C. § 1331, Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and Section 22 of the
17    Securities Act, 15 U.S.C. § 77v.
18
            22.    Venue is proper in this District under Section 27 of the Exchange Act, 15
19
20    U.S.C. § 78aa, 28 U.S.C. § 1391(b), and Section 22 of the Securities Act, 15 U.S.C.
21
      §77v, because Rivian is headquartered in this District, Defendants conduct business in
22
23    this District, and many of the acts and conduct that constitute the violations of law
24    complained of herein, including the dissemination to the public of materially false and
25
      misleading information, occurred in this District.
26
27
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1           23.    In connection with the acts, conduct, and other wrongs alleged in this

2     Complaint, Defendants, directly or indirectly, used the means and instrumentalities of
3
      interstate commerce, including the U.S. mails, interstate telephone communications, and
4
5     the facilities of the national securities markets.
6                                               PARTIES
7
            24.    Plaintiff purchased Rivian common stock at artificially inflated prices
8
9     during the Class Period, including common stock traceable to the Registration Statement,
10    and has been damaged thereby.
11
            25.    Defendant Rivian is a Delaware corporation headquartered at 14600 Myford
12
13    Road, Irvine, California.
14
            26.    Defendant Scaringe is Rivian’s Founder and Chief Executive Officer, and is
15
16    the Chairman of the Company’s Board of Directors. Scaringe signed the Registration
17    Statement.
18
            27.    Defendant Claire McDonough (“McDonough”) is Rivian’s Chief Financial
19
20    Officer. McDonough signed the Registration Statement.
21
            28.    Defendant Jeffrey R. Baker (“Baker”) is Rivian’s Chief Accounting Officer.
22
23    Baker signed the Registration Statement.
24          29.    Defendant Behl is Rivian’s Chief Growth Officer.
25
            30.    Defendant Karen Boone (“Boone”) is a Rivian Director and signed the
26
27    Registration Statement.
28
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1           31.    Defendant Sanford Schwartz (“Schwartz”) is a Rivian Director and signed

2     the Registration Statement.
3
            32.    Defendant Rose Marcario (“Marcario”) is a Rivian Director and signed the
4
5     Registration Statement.
6           33.    Defendant Peter Krawiec (“Krawiec”) is a Rivian Director and signed the
7
      Registration Statement.
8
9           34.    Defendant Jay Flatley (“Flatley”) is a Rivian Director and signed the
10
      Registration Statement.
11
12          35.    Defendant Pamela Thomas-Graham (“Thomas-Graham”) is a Rivian
13    Director and signed the Registration Statement.
14
            36.    Scaringe, McDonough, Baker, Behl, Boone, Schwartz, Marcario, Krawiec,
15
16    Flatley, and Thomas-Graham are collectively referred to as the “Individual Defendants.”
17
            37.    The Individual Defendants, because of their positions with the Company,
18
19    possessed the power and authority to control the contents of Rivian’s reports to the SEC,
20    press releases, and presentations to securities analysts, money and portfolio managers,
21
      and institutional investors, i.e., the market. Each Individual Defendant was provided
22
23    with copies of the Company’s reports alleged herein to be misleading prior to, or shortly
24
      after, their issuance and had the ability and opportunity to prevent their issuance or cause
25
26    them to be corrected. Because of their positions and access to material non-public

27    information available to them, each of the Individual Defendants knew that the adverse
28
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1      facts specified herein had not been disclosed to, and/or were being concealed from, the

2      public, and that the positive representations that were being made were then materially
3
       false and/or misleading.
4
5             38.   Rivian and the Individual Defendants are collectively referred to herein as
6      “Defendants.”
7
                                  SUBSTANTIVE ALLEGATIONS
8
9                                           Background
10            39.   Rivian designs, develops, and manufactures EVs, including the R1S and the
11
       R1T.
12
13            40.   On October 1, 2021, Rivian filed the Registration Statement for the IPO on
14     Form S-1, which, after several amendments, was declared effective on November 9,
15
       2021. On November 9, 2021, Rivian issued the prospectus for the IPO on Form 424B4,
16
17     which incorporated and formed part of the Registration Statement.
18
              41.   Rivian commenced its IPO on or about November 10, 2021, raising more
19
20     than $13.7 billion (prior to underwriting discounts and commissions, and estimated
21     expenses) from investors by selling 175,950,000 shares of its common stock at a price to
22
       the public of $78.00 per share, which included the exercise in full by the IPO
23
24     underwriters of their option to purchase an additional 22,950,000 shares of the
25
       Company’s common stock.
26
27
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1                    Defendants’ Materially False and Misleading Statements

2            42.    The Registration Statement contained misleading statements of material
3
       fact, and omitted material facts required by governing regulations and necessary to make
4
5      statements in the Registration Statement not misleading. For example, the Registration

6      Statement specifically touted Rivian’s production capabilities and targets, stating:
7
             In the consumer market, we launched the R1 platform with our first-
8            generation consumer vehicle, the R1T, a two-row five-passenger pickup
9            truck, and began making customer deliveries in September 2021. As of
             September 30, 2021, we produced 12 R1Ts and delivered 11 R1Ts, and as
10           of October 31, 2021, we produced 180 R1Ts and delivered 156 R1Ts.
11           Nearly all of these vehicles were delivered to Rivian employees, and we
             expect to ramp deliveries to third-party customers as we increase our
12
             production rate. We plan to launch and commence customer deliveries for
13           the R1S, a three-row seven-passenger sports utility vehicle (“SUV”) in
14           December 2021 following the completion of ongoing vehicle validation and
             all required testing. By the end of 2021, we intend to produce
15           approximately 1,200 R1Ts and 25 R1Ss and deliver approximately 1,000
16           R1Ts and 15 R1Ss.
17           43.    As a new entrant into the automotive industry, the Registration Statement
18
       also acknowledged that Rivian faced the challenge of competing against current and
19
20     potential manufacturers for sales:
21           Both the automobile industry generally, and the EV segment in particular,
22           are highly competitive, and we will be competing for sales with both EV
             manufacturers and traditional automotive companies. Many of our current
23
             and potential competitors may have significantly greater financial, technical,
24           manufacturing, marketing, or other resources than we do and may be able to
25           devote greater resources to the design, development, manufacturing,
             distribution, promotion, sale and support of their products than we may
26           devote to our products. We expect competition for EVs to intensify due to
27           increased demand and a regulatory push for alternative fuel vehicles,

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1            continuing globalization, and consolidation in the worldwide automotive
             industry.
2
3            44.    Accordingly, Rivian’s ability to achieve success would depend on building
4      a strong brand that encouraged adoption and customer loyalty. Despite its status as
5
       newcomer to the industry, Rivian enjoyed a great deal of excitement in the lead up to its
6
7      IPO. An article published in The Wall Street Journal on November 9, 2021, noted that
8
       Rivian’s IPO was “highly anticipated” and that:
9
10           On its roadshow pitch to investors, Rivian’s bankers compared the company
             to electric-vehicle giant Tesla Inc., whose explosive share increase has
11           handed it a market capitalization of more than $1 trillion. Though Rivian is
12           at a much earlier stage, has big losses and had no revenue until very
             recently, investors were clearly receptive and drawn to the company’s
13           growth potential.
14
             45.    To that end, and consistent with Rivian’s production targets, the
15
16     Registration Statement also emphasized the Company’s business and growth potential,
17
       explaining that:
18
19           Our diverse product portfolio and focus on inspiring people to get out and
             explore the world positions us to build an enduring brand while addressing
20           a wide range of future mobility and sustainability solutions. Through our
21           base of preorders, we observe strong affinity for our brand which we expect
             to intensify as brand awareness grows and we welcome new customers to
22           the Rivian community. As of October 31, 2021, we had approximately
23           55,400 R1T and R1S preorders in the United States and Canada from
             customers who each paid a cancellable and fully refundable deposit of
24
             $1,000. We believe the combination of our deep focus on addressing
25           climate change, building compelling products, and delivering a superior
26           customer experience will enable Rivian to drive adoption and customer
             loyalty, powering our continued growth.
27
                                                 ***
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1            Based on our current production forecast, we expect to fill our preorder
             backlog of approximately 55,400 R1 vehicles by the end of 2023. Our
2            manufacturing facility in Normal, Illinois (the “Normal Factory”) is
3            currently equipped to produce up to 150,000 vehicles annually (distributed
             between the R1 platform, which will be used to produce the R1T and R1S,
4            and the RCV platform, which will be used to produce EDVs and other
5            commercial vehicles), when the equipment is operated at full rate and on
             multiple shifts. The current annual installed capacity for the R1 platform
6            and RCV platform is approximately 65,000 and 85,000 vehicles,
7            respectively. We produced 104 R1T vehicles during the last week of
             October 2021, representing approximately 8% of our target R1 production
8
             rate. Our target is to produce approximately 1,310 R1 vehicles a week,
9            which when annualized (assuming 49.6 working weeks per year), equates to
10           the current installed R1 platform capacity of approximately 65,000 R1
             vehicles annually. With respect to the RCV platform, our target is to
11           produce approximately 1,710 commercial vehicles (including EDVs) a
12           week, which when annualized (assuming 49.6 working weeks per year),
             equates to the current installed RCV platform capacity of approximately
13           85,000 vehicles annually. We expect our vehicle production rate will
14           improve as we continue to increase the speed of the line, hire and train
             employees to run additional shifts, commence production of the R1S and
15
             EDVs, and increase the rate of purchased materials from our supply chain.
16           We expect to reach a vehicle production rate, which, when annualized,
17           would result in us using 100% of the facility’s current installed capacity of
             up to 150,000 vehicles by late 2023.
18
             46.   The Registration Statement also highlighted factors that would contribute to
19
20     the Company’s success, including Rivian’s customer relationships, which, as detailed in
21
       the Registration Statement, were an integral part of the Company’s business strategy:
22
23           The Rivian Advantage
24           We designed all aspects of our ecosystem, business model, offerings, and
25           organization to enable a scalable, customer-centric, and efficient approach,
             resulting in key competitive advantages.
26
27                                               ***
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1             Direct Customer Relationships. We are a customer-centric organization.
               Our direct relationships with customers allow us to design solutions that
2              best serve their needs, drive strong engagement, remove structural
3              inefficiencies, create transparency, and increase customer satisfaction
               and referrals. Our relationships also serve as a medium for establishing a
4              real-time feedback loop, through which we gather valuable data to
5              improve our products and services. By controlling every customer
               touchpoint from awareness through ownership, we replace a patchwork
6
               of third parties with our end-to-end, integrated solutions. We expect to
7              deliver more value to customers along with a superior experience that
8              will generate brand loyalty and increase adoption of our offerings.

9            47.   Similarly, the Registration Statement noted that the Company’s success
10
       hinged upon customers’ initial experience with the R1T and R1S, stating that these
11
12     vehicles “are our handshake with the world, the first step in building a relationship with

13     customers” and that Rivian is “focused on ensuring this first experience with a Rivian
14
       vehicle creates excitement and passion for our brand.”
15
16           48.   Likewise, the Registration Statement stated: “Our vehicles occupy an
17     attractive whitespace, addressing large, fast-growing, and high-margin market segments,
18
       and are designed to accelerate the large-scale adoption of sustainable transportation. The
19
20     RlT and R1S introduce our brand to the world and will serve as our flagship vehicles as
21
       we continue to expand our offerings.”
22
23           49.   The Registration Statement reaffirmed these representations by making the
24     following statements concerning Rivian’s focus on consumer experience:
25
             The Rivian Consumer Experience
26
27           Our consumer journey has been holistically designed to create a seamless,
28           end-to-end experience across the vehicle lifecycle, including awareness,

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1           engagement, conversion, delivery, and ownership. As part of this journey,
            we have developed intuitive digital tools and robust infrastructure to deliver
2           an exceptional experience.
3
            Every aspect of our brand has been developed and is being managed in-
4           house to ensure we create a unique consumer journey that is difficult to
5           replicate. Each step builds on the other, forming a completely integrated and
            seamless experience for our owners.
6
7
8
9
10
11
12
13
14
15
16
17          Awareness
18          We generate awareness without sacrificing authenticity. The Rivian brand
19          keeps an honest, approachable, transparent tone and is designed around
            adventure. We have built our brand and its expressions in-house, spanning
20
            creative, marketing, design, digital development, content production, events
21          planning, and analytics. No agencies of record. No paid media. We rely on
22          both shared and earned media to connect directly with our community
            through engaging content, rich digital experiences, and immersive events.
23          Building awareness organically creates deeper bonds with our community
24          and draws even more people in.
25          Engagement
26
            Every consumer interaction comes directly from Rivian; whether it is
27
            attending an event, subscribing to our digital content, or purchasing one of
28
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1            our vehicles. We do not rely on third parties or franchisees to engage with
             our consumers. This one-to-one connection starts at the earliest stages of our
2            relationship, allowing us to form stronger bonds and more deeply understand
3            our consumer. The centerpiece of our engagement approach is our
             comprehensive demo drive program. Traveling tour events in high-growth
4            regions offer immersive driving experiences while forming connections with
5            our community. To complement our touring drive events, we will also offer
             at-home drive experiences where we will bring vehicles to individual
6            consumers for a truly personalized, curated experience. By designing our
7            experiences entirely around our consumers we seek to create connection and
             trust, and a compelling case to move to the next step in the journey with us.
8
9            Conversion
10
             We have made buying a Rivian vehicle simple, transparent, and easy. There
11           are no dealers to visit or complex, high-pressure sales tactics to endure. We
12           have removed the uncomfortable haggling and unfair leverage typically
             encountered in the traditional dealership model. Our intuitive online
13           ordering process replaces what otherwise requires several hours at a
14           dealership, with a stress-free experience you can manage in minutes from
             your couch. Should an issue arise, every consumer has a dedicated Rivian
15
             Guide they can call, text, or email directly for help. If a consumer isn’t
16           satisfied, we offer the assurance of a hassle-free 7-Day, 1,000- Mile Return
17           Policy. Removing barriers to purchase with helpful, proactive, frictionless
             shopping tools and customer service results in more willingness to try our
18           brand, including our vehicles, accessories, services, and merchandise.
19
             50.   The Registration Statement also addressed the need to attract and retain a
20
21     large number of customers:
22           Our success depends on attracting a large number of potential customers to
23           purchase our vehicles and the associated services we will provide to our
             customers. As of October 31, 2021, we had accepted preorders for
24
             approximately 55,400 R1Ts and R1Ss in the United States and Canada.
25           Preorders are not commitments to purchase our R1T or R1S and are subject
26           to cancelation by customers. If our existing preorder and prospective
             customers do not perceive our vehicles and services to be of sufficiently
27           high value and quality, cost competitive and appealing in aesthetics or
28           performance, or if the final production version of the R1S is not sufficiently
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1            similar to the drivable design prototypes, we may not be able to retain our
             current preorder customers or attract new customers, and our business,
2            prospects, financial condition, results of operations, and cash flows would
3            suffer as a result.
4            51.    As to nature of Rivian’s preorders, the Registration Statement explained:
5
             Deliveries of the R1T began in September 2021 and deliveries of the R1S
6            are not expected to begin until December 2021, and may occur later or not at
7            all. As a result, we offer waitlist preorders for consumers with a cancellable
             and fully refundable deposit of $1,000. Deposits paid to preorder the R1T
8            and R1S are cancellable by the customer until the customer enters into a
9            lease or purchase agreement. Because all of our preorders are cancellable, it
             is possible that a significant number of customers who submitted preorders
10           for our vehicles may not purchase vehicles.
11
             The potentially long wait from the time a preorder is made until the time the
12
             vehicle is delivered, and any delays beyond expected wait times, could also
13           impact customer decisions on whether to ultimately make a purchase. Any
14           cancellations could harm our business, prospects, financial condition, results
             of operations, and cash flows.
15
16           52.    At the time of the IPO, the starting prices for the R1T and R1S were
17     $67,500 and $70,000, respectively. Prior to the IPO, Rivian originally announced base
18
       pricing for its R1T pickup truck and R1S SUV at $69,000 and $72,000, respectively. In
19
20     December of 2019, Tesla unveiled its Cybertruck with a base price of $39,900. In a
21
       January 26, 2020 article published on the website Electrek titled “Rivian will start under
22
23     expected $69,000 price – Cybertruck effect in action?” it was reported that Rivian
24     adjusted its pricing to compete with Tesla. According to the article, “Rivian now says
25
       that $69,000 will be the price for a ‘well-equipped vehicle,’ and that base model pricing
26
27     will actually be lower than that.” The article noted that after federal tax credits for EVs
28
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1      (which Tesla no longer qualified for), “a new base model Rivian could net out to less

2      than $50,000 all-told. This would be quite impressive and even more disruptive than we
3
       originally thought.”
4
5            53.    The statements set forth in ¶¶ 42-43 and 45-51 were materially false and/or
6      misleading when made because Defendants misrepresented and/or failed to disclose that:
7
       (i) Rivian would not meet its 2021 production and delivery targets; (ii) Rivian’s vehicles
8
9      were underpriced and the Company would need to substantially increase prices; and (iii)
10
       as a result, Defendants’ representations about the Company’s business, operations, and
11
12     prospects lacked a reasonable basis.
13           54.    Additionally, pursuant to Item 303 of SEC Regulation S-K and the SEC’s
14
       related interpretive releases thereto, an issuer is required to disclose “any known trends
15
16     or uncertainties that have had or that the registrant reasonably expects will have a
17
       material favorable or unfavorable impact on net sales or revenues or income from
18
19     continuing operations.” 17 C.F.R. § 229.303(b)(2)(ii). Such disclosures are required to
20     be made by an issuing company in registration statements filed in connection with public
21
       stock offerings.
22
23           55.    However, the Registration Statement failed to disclose material information
24
       regarding known trends and uncertainties pursuant to Item 303. As alleged herein, the
25
26     Registration Statement failed to disclose that Rivian would not meet its 2021 production

27     and delivery targets and that Rivian’s vehicles were underpriced and the Company
28
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1      would need to substantially increase prices. Defendants had a duty to disclose these

2      known trends and uncertainties. Because the Registration Statement failed to make the
3
       requisite disclosures, Defendants violated Item 303.
4
5                                   The Truth Begins to Emerge
6            56.    The truth about Rivian’s production capabilities and business prospects
7
       began to emerge on December 16, 2021, when Rivian announced its first quarterly
8
9      financial results as a publicly traded company. In connection with these financial results,
10     Rivian revealed that it “expect[ed] to be a few hundred vehicles short of [its] 2021
11
       production target of 1,200 [vehicles].” In explaining the shortfall, Defendant Scaringe
12
13     stated that “ramping up a production system like this [is] a really complex orchestra,”
14
       and that “ramping up the R1S [production line] in November, while also ramping
15
16     production of the R1T was more challenging than expected.”
17           57.    Additionally, Defendants admitted that they were considering price
18
       increases for their vehicles, with Defendant Scaringe acknowledging that Rivian’s
19
20     vehicles are “very aggressively priced,” and that the adjustment of vehicle prices is
21
       “something that we’ve certainly considered and talked about quite a bit as a management
22
23     team.” When an analyst asked whether the Company was “looking at opportunities to
24     adjust pricing just based on what the demand is for the product,” Defendant Scaringe
25
       explained that it’s “certainly the backdrop of inflation that we’re seeing, and a very
26
27
28
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1      strong demand for products . . . broadly within the electrified space has caused us to look

2      at our pricing.”
3
             58.    Despite acknowledging production issues and inflationary price pressure,
4
5      Defendants reassured investors that Rivian’s growth prospects were strong.             For
6      example, Defendant Behl explained that the Company continued “to observe strong
7
       affinity for our brand, as evidenced by the . . . backlog of preorders.” Specifically, Behl
8
9      reported that the Company now had approximately 71,000 preorders for the R1T and
10
       R1S—a 28% increase in a little over a month since the IPO. Rivian reiterated that its
11
12     manufacturing facility “has installed capacity to annually produce 150,000 vehicles” and
13     claimed that the volume of preorders demonstrates that the Company’s vehicles
14
       “resonate with customers” and “have established the Rivian brand in the most attractive
15
16     consumer and commercial vehicle market segments.”
17
             59.    On this news, Rivian’s stock price fell $11.17 per share, or more than 10%,
18
19     from a close of $108.87 per share on December 16, 2021, to close at $97.70 per share on
20     December 17, 2021.
21
             60.    On January 10, 2022, Rivian confirmed that it had only “produced 1,015
22
23     vehicles by the end of 2021” and that only “920 vehicles were delivered by that date.”
24
             61.    Additional information correcting Defendants’ statements and omissions
25
26     emerged on March 1, 2022, when Rivian announced that it would dramatically increase

27     the starting price of the R1T by about 17% (to approximately $79,000 from $67,500),
28
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1      and the R1S by about 20% (to approximately $84,500 from $70,000). In addition to

2      increasing the starting prices for the R1T and R1S, under the new pricing scheme,
3
       vehicle feature “[c]onfigurations that had previously been standard, or the only available
4
5      option, now cost thousands of dollars extra,” such that a customer who preordered a
6      $75,000 vehicle could now be required to pay nearly $100,000 for the same features.
7
       Rivian’s price increases would apply not only to future orders, but also to existing
8
9      preorders (many of which had been placed as long as three or more years prior). At the
10
       time of the announcement, Rivian had only produced and sold roughly 1,000 vehicles.
11
12     Meanwhile, the number of preorders for the R1T and R1S had grown to approximately
13     71,000 as of December 15, 2021.
14
              62.     In a statement to Electrek, Defendant Behl attributed the price increases to
15
16     inflation and the fact that the prices were originally set in 2018:
17
              Like most manufacturers, Rivian is being confronted with inflationary
18            pressure, increasing component costs, and unprecedented supply chain
19            shortages and delays for parts (including semiconductor chips). This rise in
              cost and complexity due to these challenging circumstances necessitate an
20            increase to the prices of the R1T and R1S models we offer today — prices
21            which were originally set in 2018. This decision will allow us to continue to
              offer competitive products that maintain the high standard of quality,
22            performance and capabilities that our customers expect and deserve from
23            Rivian. Along with the adjusted prices for our current offerings, we are also
              announcing Dual-Motor AWD and Standard battery pack options for R1T
24
              and R1S, which will provide a broader range of choices for customers as
25            part of our expanding portfolio of options, upgrades and accessories.1
26
27     1
        See https://electrek.co/2022/03/01/rivian-prices-increases-many-electric-pickup/ (last visited on Apr.
28     18, 2022).

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1            63.    However, as discussed in ¶ 52, supra, in response to Tesla’s unveiling of its

2      Cybertruck, Rivian announced in 2020 that the pricing for the R1T and R1S was actually
3
       for a “well-equipped vehicle” and that the base model pricing would be lower.
4
5            64.    Moreover, a March 2, 2022 article in the online publication ARS Technica,
6      titled “Rivian surprises, outrages EV truck buyers with 20% price hike,” questioned the
7
       reasons behind the price increases. The article stated, in part: “While inflation is likely
8
9      part of the story, the price hike may have been planned for a while. In a lawsuit filed by
10
       Laura Schwab, the company’s former VP of sales and marketing who alleges the
11
12     company has a ‘toxic’ bro culture,’ concerns over profitability were raised in spring
13     2021.” The article quotes from the lawsuit, which was filed in the Superior Court of
14
       California for Orange County, on November 4, 2021, just days before the IPO, as
15
16     follows:
17
             Beginning in spring of 2021, Ms. Schwab started to raise the alarm about
18           concerns she had relating to Rivian’s ability to deliver on its promises to
19           investors. Shockingly, Mr. Behl dismissed her concerns and explicitly asked
             Ms. Schwab not to raise these issues in front of Mr. [RJ] Scaringe [Rivian’s
20           CEO].
21
             First, it was clear that the vehicles were underpriced, and each sale would
22           result in a loss for the company. Ms. Schwab ultimately contacted Dennis
23           Lucey, Rivian’s Finance Director, and worked with him to develop
             projections showing how much of a loss the company would incur if Rivian
24
             did not raise prices. Ms. Schwab raised this issue with several executives,
25           including Mr. Behl, Stuart Dixon (Director of Product Management), and
26           Andy Zicheck (Principal Product Manager). Mr. Behl brushed her off.
             Eventually, Mr. [Patrick] Hunt [then-senior director of consumer digital]
27           raised the issue with Mr. Behl, at which point Mr. Behl agreed that they
28           would need to raise the vehicle prices after the IPO.
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1             65.      Customers who had placed $1,000 refundable deposits for Rivian’s vehicles

2      configured to their individual preferences were understandably furious. Online Rivian
3
       forums, social media, and news publications were rife with examples of outrage toward
4
5      Rivian. One poster on Rivian’s Owner Forum wrote “I’m out. Terrible way to treat early
6      adopters.”2 Another individual commented:
7
              My quoted price previously was $75,820 for an R1S and after going through
8
              the configurator to get the same vehicle it’s $92k. A 17k increase is not
9             inflation - it means it wasn’t priced appropriately to begin with. Add-in the
10            new ‘option’ for a dual motor which is positioned as a great new option but
              in reality it just means they are now charging you more for the quad motor
11            which was previously the only option. This feels like a gigantic bait and
12            switch. I may be losing interest at this point as well…3
13     (Emphases added.)
14
              66.      An article published in Electrek on March 2, 2022, titled “Rivian buyers are
15
16     cancelling at alarming rates after price increases,” noted that “A poll on the Rivian
17
       subreddit, one of the biggest communities of Rivian fans, gives us a better idea of the
18
19     pulse of the reservation holders, and it shows a high cancelation rate” and provided a
20     screenshot of the poll, which showed a majority of voters planned to cancel their
21
       reservations:
22
23
24
25     2
        See https://www.rivianforums.com/forum/threads/r1t-r1s-updated-pricing-configuration-specs- dual-
       motor-now-available.3712/page-4#post-102860 (last visited on Apr. 18, 2022).
26
27     3
        See https://www.rivianownersforum.com/threads/new-email-just-received-important-r1s- pricing-and-
28     product-information.2418/post-22915 (last visited on Apr. 18, 2022).

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3
4
5
6
7
8
             67.    Additionally, an article published by Vice on March 2, 2022, titled “Rivian
9
10     Jacks Up Vehicle Prices For Preorders Placed Years Ago, Enraging Customers,”
11
       explained:
12
13           Price increases are obviously a fact of life these days, especially with the car
             market, a key driver of inflation. But it is rare to see car companies apply
14           price changes, especially such drastic ones, to existing preorders. For
15           example, Tesla regularly changes vehicle prices, but only to new orders.
             Legacy automakers have been fighting with dealers who are charging much
16           more than the sticker price for electric vehicle preorders, telling them to
17           knock it off.
18           68.    In response to news of the Company’s substantial (and expansive) price
19
       increases, Rivian’s stock price fell $8.35 per share, or more than 13%, from a close of
20
21     $61.91 per share on March 1, 2022, to close at $53.56 per share on March 2, 2022.
22
             69.    Facing significant investor and customer backlash, Rivian backtracked just
23
24     two days later on March 3, 2022, and announced that it would not apply the price

25     increases to preorders that had been placed before March 1, 2022. Additionally, the
26
       Company indicated that it would also allow customers who had cancelled their preorders
27
28     to reinstate their orders at the original prices. In announcing these changes, Defendant
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1      Scaringe acknowledged that the extension of the price increases to existing preorders

2      was “wrong” and “broke [customers’] trust in Rivian.” Indeed, as explained by an
3
       analyst from CFRA Research, “the damage has been done and many customers will be
4
5      purchasing EVs from competitors instead.”
6            70.   A March 3, 2022 article in The Wall Street Journal, titled “EV Startup
7
       Rivian Walks Back Price Increase, Apologizes to Customers,” shared the following from
8
9      a now-former Rivian customer:
10
             Paul Morgan, 39-year-old California resident, expected Rivian’s prices to go
11           up a couple thousand dollars to account for inflation. When he received
12           notice that the price on his preordered Rivian SUV would increase $19,000,
             he drew the line.
13
14           “Within five seconds of seeing the new price I clicked the cancel button,”
             Mr. Morgan said. Even after learning that his original price would be
15
             honored, he said he didn’t reinstate his order.
16
17           71.   On this news, Rivian’s stock price fell an additional $2.65 per share, or

18     approximately 5%, from a close of $53.56 per share on March 2, 2022, to close at $50.91
19
       per share on March 3, 2022.
20
21           72.   Then, on March 10, 2022, Rivian announced disappointing financial results
22     for the fourth quarter of fiscal year 2021, including revenue ($54 million) and adjusted
23
       losses ($2.43 per share) that fell far below analysts’ estimates. Additionally, while
24
25     analysts had expected Rivian to produce 40,000 vehicles in 2022 (and Defendants had
26
       previously indicated that its manufacturing facility “has installed capacity to annually
27
28
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1      produce 150,000 vehicles”), Rivian revealed that it expected to produce only 25,000

2      vehicles in 2022 “due to the supply chain constraints currently visible to [them].”
3
             73.    On this news, Rivian’s stock price fell $3.11 per share, or approximately
4
5      7.5%, from a close of $41.16 per share on March 10, 2022, to close at $38.05 per share
6      on March 11, 2022.
7
             74.    Defendants’ admissions regarding the production and pricing issues
8
9      impacting Rivian’s operations validate the concerns raised by Schwab with fellow
10
       Rivian executives prior to the Company’s November 2021 IPO. As discussed in her
11
12     November 4, 2021 employment discrimination lawsuit, Schwab raised concerns in pre-
13     IPO planning meetings in September 2021 that “the publicly announced dates for
14
       manufacturing and delivery were not achievable,” and with Defendant Behl that “the
15
16     manufacturing process had yet to be refined to a point that the company could
17
       confidently assure a consumer of the vehicle’s quality, integrity, and safety.” Similarly,
18
19     Schwab alleged that she raised concerns with several executives, including Defendant
20     Behl, that “it was clear that the vehicles were underpriced, and each sale would result in
21
       a loss [for] the [C]ompany.” According to Schwab, Defendant Behl “brushed her off”
22
23     but later “agreed that they would need to raise the vehicle prices after the IPO” when a
24
       male executive subsequently raised the same concerns (emphasis added).
25
26
27
28
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1             75.    Ultimately, the December 2021 and March 2022 corrective disclosures

2      demonstrate that Schwab’s pre-IPO concerns were ignored by Defendants until after the
3
       IPO was completed.
4
5             76.    As of the time this Complaint was filed, the price of Rivian common stock
6      continues to trade below the $78.00 per share IPO price, damaging investors.
7
                         PLAINTIFF’S CLASS ACTION ALLEGATIONS
8
9             77.    Plaintiff brings this class action under Rule 23 of the Federal Rules of Civil
10     Procedure on behalf of the Class consisting of all persons and entities who purchased
11
       Rivian common stock during the Class Period, and all persons and entities who
12
13     purchased Rivian common stock pursuant and/or traceable to the Registration Statement
14
       issued in connection with Rivian’s November 2021 IPO. Excluded from the Class are
15
16     Defendants, their agents, directors and officers of Rivian, and their families and
17     affiliates.
18
              78.    The members of the Class are so numerous that joinder of all members is
19
20     impracticable. The disposition of their claims in a class action will provide substantial
21
       benefits to the parties and the Court.
22
23            79.    There is a well-defined community of interest in the questions of law and
24     fact involved in this case. Questions of law and fact common to the members of the
25
       Class which predominate over questions which may affect individual Class members
26
27     include:
28
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1                   Whether Defendants violated the Exchange Act;

2                   Whether Defendants violated the Securities Act;
3
                    Whether Defendants omitted and/or misrepresented material facts;
4
5                   Whether Defendants’ statements omitted material facts necessary in order to
6
                      make the statements made, in light of the circumstances under which they
7
8                     were made, not misleading;
9                   Whether Defendants knew or recklessly disregarded that their statements
10
                      were false and misleading;
11
12                  Whether the prices of Rivian common stock were artificially inflated; and
13
                    The extent of damage sustained by members of the Class and the
14
15                    appropriate measure of damages.
16
             80.      Plaintiff’s claims are typical of those of the Class because Plaintiff and the
17
18     Class sustained damages from Defendants’ wrongful conduct.

19           81.      Plaintiff will adequately protect the interests of the Class and has retained
20
       counsel who are experienced in securities class actions. Plaintiff has no interests that
21
22     conflict with those of the Class.
23           82.      A class action is superior to other available methods for the fair and
24
       efficient adjudication of this controversy. Joinder of all Class members is impracticable.
25
26           83.      Moreover, at all relevant times, the market for Rivian’s common stock was
27
       an efficient market for the following reasons, among others:
28
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1                   Rivian’s common stock met the requirements for listing, and was listed and

2                     actively traded on the NASDAQ, a highly efficient and automated market;
3
                    As a regulated issuer, Rivian filed periodic public reports with the SEC and
4
5                     the NASDAQ;
6
                    Rivian regularly and publicly communicated with investors via established
7
8                     market    communication      mechanisms,     including    through    regular
9                     disseminations of press releases on the national circuits of major newswire
10
                      services and through other wide-ranging public disclosures, such as
11
12                    communications with the financial press and other similar reporting
13
                      services; and
14
15                  Rivian was followed by several securities analysts employed by major
16                    brokerage firm(s) who wrote reports which were distributed to the sales
17
                      force and certain customers of their respective brokerage firm(s). Each of
18
19                    these reports was publicly available and entered the public marketplace.
20
             84.      As a result of the foregoing, the market for Rivian’s common stock
21
22     promptly digested current information regarding Rivian from all publicly available

23     sources and reflected such information in the price of Rivian’s common stock. Under
24
       these circumstances, all purchasers of Rivian’s common stock during the Class Period
25
26     suffered similar injury through their purchase of Rivian’s common stock at artificially
27
       inflated prices and the presumption of reliance applies.
28
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1            85.   A Class-wide presumption of reliance is also appropriate in this action

2      under the Supreme Court’s holding in Affiliated Ute Citizens of the State of Utah v.
3
       United States, 406 U.S. 128 (1972), as Defendants omitted material information in their
4
5      Class Period statements in violation of a duty to disclose such information, as detailed
6      above.
7
                                       NO SAFE HARBOR
8
9            86.   Defendants’ “Safe Harbor” warnings accompanying any forward-looking
10     statements issued during the Class Period were ineffective to shield those statements
11
       from liability. Defendants are liable for any false and/or misleading forward-looking
12
13     statements pleaded because, at the time each forward-looking statement was made, the
14
       speaker knew the forward-looking statement was false or misleading and the forward-
15
16     looking statement was authorized and/or approved by an executive officer of the
17     Company who knew that the forward-looking statement was false. None of the historic
18
       or present-tense statements made by Defendants were assumptions underlying or relating
19
20     to any plan, projection, or statement of future economic performance, as they were not
21
       stated to be such assumptions underlying or relating to any projection or statement of
22
23     future economic performance when made, nor were any of the projections or forecasts
24     made by Defendants expressly related to or stated to be dependent on those historic or
25
       present-tense statements when made.
26
27
28
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1                              LOSS CAUSATION/ECONOMIC LOSS

2            87.     Defendants’ wrongful conduct directly and proximately caused the
3
       economic loss suffered by Plaintiff and the Class. The prices of Rivian’s common stock
4
5      significantly declined when the misrepresentations made to the market, and/or the

6      information alleged herein to have been concealed from the market, and/or the effects
7
       thereof, were revealed, causing investors’ losses. As a result of their purchases of Rivian
8
9      common stock during the Class Period and/or pursuant or traceable to the Registration
10     Statement, Plaintiff and the Class suffered economic loss, i.e., damages, under the
11
       federal securities laws.
12
13                                             COUNT I
14
          (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated
15                             Thereunder Against All Defendants)
16
             88.     Plaintiff incorporates by reference the allegations in the preceding
17
18     paragraphs.
19
             89.     During the Class Period, Defendants carried out a plan, scheme, and course
20
21     of conduct that was intended to and, throughout the Class Period, did: (i) deceive the

22     investing public, including Plaintiff and the Class; and (ii) cause Plaintiff and the Class
23
       to purchase Rivian’s common stock at artificially inflated prices. In furtherance of this
24
25     unlawful scheme, plan, and course of conduct, the Defendants, and each of them, took
26     the actions set forth herein.
27
28
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1            90.   Defendants: (i) employed devices, schemes, and artifices to defraud; (ii)

2      made untrue statements of material fact and/or omitted material facts necessary to make
3
       the statements not misleading; and (iii) engaged in acts, practices, and a course of
4
5      business which operated as a fraud and deceit upon the purchasers of Rivian’s common
6      stock in an effort to maintain artificially high market prices thereof in violation of
7
       Section 10(b) of the Exchange Act and SEC Rule 10b-5.
8
9            91.   During the Class Period, Defendants made the false statements specified
10
       above, which they knew or recklessly disregarded to be false and misleading in that they
11
12     contained misrepresentations and failed to disclose material facts necessary in order to
13     make the statements made, in light of the circumstances under which they were made,
14
       not misleading.
15
16           92.   Defendants had actual knowledge of the misrepresentations and omissions
17
       of material fact set forth herein, or recklessly disregarded the true facts that were
18
19     available to them. Defendants engaged in this misconduct to conceal Rivian’s true
20     condition from the investing public and to support the artificially inflated prices of
21
       Rivian’s common stock.
22
23           93.   Plaintiff and the Class have suffered damages in that, in reliance on the
24
       integrity of the market, they paid artificially inflated prices for Rivian’s common stock.
25
26     Plaintiff and the Class would not have purchased Rivian’s common stock at the prices

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1      they paid, or at all, had they been aware that the market prices for Rivian’s common

2      stock had been artificially inflated by Defendants’ fraudulent course of conduct
3
             94.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff
4
5      and the Class suffered damages in connection with their respective purchases of Rivian’s
6      common stock during the Class Period.
7
                                              COUNT II
8
9      (Violations of Section 20(a) of the Exchange Act Against the Individual Defendants)
10
             95.     Plaintiff incorporates by reference the allegations in the preceding
11
12     paragraphs.
13           96.     The Individual Defendants acted as controlling persons of Rivian within the
14
       meaning of Section 20(a) of the Exchange Act. By virtue of their high-level positions,
15
16     and their ownership and contractual rights, participation in and/or awareness of the
17
       Company’s operations, and/or intimate knowledge of the false financial statements filed
18
19     by the Company with the SEC and disseminated to the investing public, the Individual
20     Defendants had the power to influence and control—and did influence and control,
21
       directly or indirectly—the decision-making of the Company, including the content and
22
23     dissemination of the various false and/or misleading statements.          The Individual
24
       Defendants were provided with or had unlimited access to copies of the Company’s
25
26     reports and other statements alleged by Plaintiff to be misleading prior to and/or shortly

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1      after these statements were issued and had the ability to prevent the issuance of the

2      statements or cause the statements to be corrected.
3
             97.    In particular, each of the Individual Defendants had direct and supervisory
4
5      involvement in the day-to-day operations of the Company and, therefore, are presumed
6      to have had the power to control or influence the particular accounting practices giving
7
       rise to the securities violations as alleged herein, and exercised the same.
8
9            98.    As described above, Defendants each violated Section 10(b) of the
10
       Exchange Act and SEC Rule 10b-5 by their acts and omissions as alleged in this
11
12     Complaint. By virtue of their positions as controlling persons, the Individual Defendants
13     are liable under Section 20(a) of the Exchange Act. As a direct and proximate result of
14
       this wrongful conduct, Plaintiff and other members of the Class suffered damages in
15
16     connection with their purchases of Rivian’s common stock during the Class Period.
17
                                               COUNT III
18
19         (Violations of Section 11 of the Securities Act Against All Defendants Except
                                          Defendant Behl)
20
21           99.    Plaintiff incorporates by reference the allegations in the preceding
22     paragraphs, with the exception that this claim is premised on the remedies available
23
       under Section 11 of the Securities Act, 15 U.S.C. § 77k, and expressly excludes and
24
25     disclaims any allegation that Defendants acted with fraudulent intent or recklessness.
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1            100. The Registration Statement contained untrue statements of material fact,

2      omitted to state other facts necessary to make the statements made therein not misleading
3
       and/or omitted facts required to be stated therein.
4
5            101. Each of the Defendants named herein is responsible for and are liable for
6      the contents and dissemination of the Registration Statement.
7
             102. The Individual Defendants (with the exception of Defendant Behl) each
8
9      signed the Registration Statement and caused it to be declared effective by the SEC.
10
             103. Rivian is the registrant for the IPO and as issuer of the shares is strictly
11
12     liable to Plaintiff and the Class for the misstatements and omissions in the Registration
13     Statement.
14
             104. These Defendants caused the Registration Statement to be filed with the
15
16     SEC and to be declared effective, resulting in the issuance and sale of approximately 176
17
       million shares, which shares were purchased by Plaintiff and the Class.
18
19           105. None of the Defendants made a reasonable investigation or possessed
20     reasonable grounds for the belief that the statements contained in the Registration
21
       Statement were true and did not omit any material facts required to be stated therein or
22
23     facts that were necessary to make the statements made therein not false or misleading.
24
             106. By reason of the conduct herein alleged, each of these Defendants violated
25
26     Section 11 of the Securities Act.

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28
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1                                             COUNT IV

2       (Violations of Section 15 of the Securities Act Against the Individual Defendants)
3
             107. Plaintiff incorporates by reference the allegations in the preceding
4
5      paragraphs, with the exception that this claim is premised on the remedies available
6      under Section 15 of the Securities Act, 15 U.S.C. § 77o, and expressly excludes and
7
       disclaims any allegation that Defendants acted with fraudulent intent or recklessness.
8
9            108. Each of the Individual Defendants was a control person of Rivian by virtue
10
       of their position as a director or senior officer with the Company.
11
12           109. By reason of the conduct herein alleged, each Individual Defendant violated
13     Section 15 of the Securities Act.
14
             WHEREFORE, Plaintiff prays for relief and judgment, as follows:
15
16           A.     Determining that this action is a proper class action under Rule 23 of the
17
       Federal Rules of Civil Procedure;
18
19           B.     Awarding compensatory damages and equitable relief in favor of Plaintiff
20     and other members of the Class against all Defendants, jointly and severally, for all
21
       damages sustained as a result of Defendants’ wrongdoing, in an amount to be proven at
22
23     trial, including interest thereon;
24
             C.     Awarding Plaintiff and the Class their reasonable costs and expenses
25
26     incurred in this action, including counsel fees and expert fees; and

27           D.     Such other and further relief as the Court may deem just and proper.
28
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1                                DEMAND FOR TRIAL BY JURY

2            Plaintiff hereby demands a trial by jury.
3
       Dated: April 19, 2022                        Respectfully submitted,
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                                                    POMERANTZ LLP
5
6                                                   /s/ Jennifer Pafiti
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10                                                  Attorney for Plaintiff
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